 

UN|TED STATES D|STR|CT COURT

 

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LARRY cHANEY, et ux.
DANA cHANEY,
P|aintiffs,
v. No. 3 09 news

STATE FARM FlRE AND CASUALTY
COMPANY,

Defendant.

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NOT|CE OF REMOVAL OF A ClVlL ACT|0N

Comes now the defendant, State Farm Fire and Casualty Company, (hereinafter
referred to as “State Farm”), by and through counse|, pursuant to 28 U.S.C. §1446, and
hereby gives notice of removal from the Circuit Court of Rutherford County7 Tennessee,
to the United States District Court for the lV|idd|e District of Tennessee, Nashvil|e Division,
alleging as fol|oWs:

1. On November 9, 2009, the plaintiffs, Larry Chaney and Dana Chaney, filed
suit against State Farm in the Circuit Court for Rutherford County, Tennessee, Where said
action is now pending under docket number 59897.

2. On November 13, 2009, State farm Was served With a Summons and
Complaint through the Commissioner of Commerce and lnsurance. A copy of the
Summons and Complaint is attached as Exhibit 1.

3. No further proceedings have been had in the Circuit Court of Rutherford

County, Tennessee.

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4. The lawsuit arises over a denial of insurance benefits. The policy limits of
the policy at issue were $184,800.00 on the dwelling, $138,600.00 on personal property,
and additional amounts for loss of use. Consequently, the entire amount of controversy
exceeds, exclusive of interest and costs, the sum of Seventy-Five Thousand Dollars
($75,000.00), and thus, jurisdiction would exist pursuant to this court’s “diversity of
citizenship"jurisdiction under 28 U. S. C. § 1332.

5. This action only involves citizens and residents of different states. At the
time of the commencement of the action in the Circuit Court of Rutherford County,
Tennessee, the plaintiffs were, according to the Complaint, residents of Rutherford,
County, Tennessee. State Farm is a corporation incorporated and organized outside the
State of Tennessee, with its principal place of business outside the State of Tennessee,
specifically lllinois.

- 6. This Court has original jurisdiction over the above styled action, pursuant to
the provisions of 28 U.S.C. § 1332, in as much as the defendant is not citizen or resident
of the State of Tennessee, and the amount in controversy exceeds Seventy-Five
Thousand Dollars ($75,000.00) exclusive of interest and costs. Therefore, removal to this

Court and Division is proper, pursuant to 28 U. S. C. §1441.

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WHEREFORE, State Farm Fire and Casualty Company prays that the above-
styled action be removed from the Circuit Court of Rutherford County, Tennessee, to the
United States District Court for the l\/liddle District of Tennessee, Nashville Division.

Respectfully submitted,

s/ Parks T. Chastain

PARKS T. CHASTA|N

Registration No. 13744

Attorney for Defendant, State Farm Fire and
Casualty Company

BREwER, KRAusE, BRooKs,
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P. o. Box 23890

Nashville,TN 37202-3890
(615) 256-8787

CERT|F|CATE OF SERV|CE

l hereby certify that on this 14th day of December, 2009, a true and correct copy of
the foregoing has been sent, via first-class mail, postage prepaid to:

Raymond G. Prince, Esquire

Prince & Hellinger, PC

150 Second Avenue, North, Suite 300
Nashville, TN 37201-1902

s/ Parks T. Chastain
PARKS T. CHASTA|N

PTC:dmt

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